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                       UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MASSACHUSETTS

 In re:

 Wendy Jane Rickles                                  Chapter 13
                                                     Case Number 17-41246
          Debtor                                     Honorable Christopher J. Panos

 ____________________________________/

                                      STIPULATION

          Stipulation entered into March 27, 2019 by and between Wells Fargo Bank, N.A.

 and Wendy Jane Rickles (“Debtor”) (collectively, the “Parties”).

          WHEREAS, Wells Fargo Bank, N.A. is the holder of the Note and Mortgage on

 real property located at 32 Aylesbury Road, Worcester, MA 01609.

          WHEREAS, on May 1, 2018, Wells Fargo Bank, N.A. filed a motion in the

 above-captioned bankruptcy case requesting relief from the automatic stay as to the real

 property at 32 Aylesbury Road, Worcester, MA 01609.

          WHEREAS, the parties here to have reached a compromise regarding the above

 described controversy.

          NOW, THEREFORE, the parties hereto, by their respective attorneys, hereunto

 duly authorized, do hereby stipulate and agree:

 1.       The Debtor is post-petition due September 1, 2017 to February 1, 2018 for

 payments of $2,211.58 each; March 1, 2018 to April 1, 2018 for payments of $2,380.37

 each; May 1, 2018 to October 1, 2018 for payments of $2,408.15 each; November 1,

 2018 to February 1, 2019 for payments of $2,375.80 each; and March 1, 2019 for a

 payment of $2,440.72 each for a total of $44,423.04. The Debtor agrees to cure the total

 amount of post-petition arrears by making the following payments:
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 March 28, 2019                              $30,103.32
 April 15, 2019                              $2,386.62
 May 15, 209                                 $2,386.62
 June 15, 2019                               $2,386.62
 July 15, 2019                               $2,386.62
 August 15, 2019                             $2,386.62
 September 15, 2019                          $2,386.62


         The payments shall be in the form of good funds (bank check, certified funds, or a

 check drawn on Debtor’s counsel’s clients’ trust fund account) and shall be made payable

 to Wells Fargo Bank, N.A. and sent directly to Wells Fargo Bank, N.A. at Wells Fargo

 Home Mortgage , PO Box 14507, Des Moines, IA 50306 with the loan number written on

 the check. Payment will be considered made on such dates if the funds are received by

 Wells Fargo Bank, N.A. by the close of business on those dates.

 2.      Starting with the payment date April 1, 2019 through September 1, 2019, Debtor

 in addition to the payments required by paragraph 1 herein, shall timely make the regular

 monthly payments directly to Wells Fargo Bank, N.A. as required by the Note and

 Mortgage.

 3.      Please note that upon Debtor failure to make either a regular monthly payment

 under paragraph 2 or any payment under paragraph 1, Wells Fargo Bank, N.A. or its

 attorney shall give written notice to the debtors and their counsel, of such failure to make

 timely payments pursuant to the stipulation and further advise that failure to make said

 payments within Seven Days after the date of such notice shall constitute a default under

 this stipulation.

 4.      IF THE DEBTOR DEFAULTS UNDER THIS STIPULATION OR FAILS

 TO COMPLY WITH ANY OF THE TERMS STATED HEREIN, WELLS FARGO

 BANK, N.A. OR ITS ATTORNEY WILL FILE A NOTICE OF DEBTOR NON-

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 THE DISTRICT OF MASSACHUSETTS AND THEREAFTER, THE COURT

 MAY ENTER AN ORDER GRANTING WELLS FARGO BANK, N.A. AND ITS

 SUCCESSORS AND ASSIGNS, RELIEF FROM THE AUTOMATIC STAY AS

 TO THE REAL PROPERTY AT 32 AYLESBURY ROAD, WORCESTER, MA

 01609. WELLS FARGO BANK, N.A. AND ITS SUCCESSORS AND ASSIGNS

 WILL THEN BE FREE TO EXERCISE ITS RIGHTS PURSUANT TO THE

 NOTE AND MORTGAGE IN ACCORDANCE WITH APPLICABLE STATE

 AND FEDERAL LAW AND TO CONDUCT A FORECLOSURE SALE OF THE

 PROPERTY AND SUBSEQUENT EVICTION ACTION, IF NECESSARY. 1

 5.        No waiver by Wells Fargo Bank, N.A. of any default shall operate as a waiver of

 any other default or of the same default on a future occasion.

 6.        This Stipulation and the terms contained herein shall become void and

 unenforceable by either party in the event that the Debtor’s bankruptcy petition is

 converted to any other Chapter or dismissed for any reason or as a result of the motion of

 any party, including, but not limited to the Debtor.



     __/s/ Michael E. Swain__________              _/s/ Daniel I. Cotton_____________
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     “Bold” and “All-Caps” per MLBR 13-16-2 (c).
